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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 1:03-cr-00128-WYD-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. DANA WEST,

        Defendant.


      MOTION TO SEAL DOCUMENTS #204 AND 205 AND ATTACHMENTS


        The United States, by and through the undersigned Assistant United States

 Attorney, files this Motion to Seal and states as follows:

        The government asks that Documents #204 and 205 and the motion and order

 attached thereto and any order resulting from Document #205 all be sealed until further

 order of the Court.

        WHEREFORE, the United States asks this Honorable Court to issue an order

 sealing, until further order of the Court, Documents #204 and 205, the motion and order

 attached thereto, and any order resulting from Document #205.
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                                    Respectfully submitted,

                                    TROY A. EID
                                    United States Attorney


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